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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF INDIANA
                               INDIANAPOLIS DIVISION


  RUTH PETERSON,                                )
                                                )
                            Plaintiff,          )
                                                )
                     vs.                        )       1:14-cv-00067-RLY-MJD
                                                )
  SMALL OFFICE SOLUTIONS, LLC,                  )
                                                )
                            Defendant.          )



                                ORDER OF DISMISSAL

        This cause came before the court upon the parties’ Stipulation of Dismissal and

 the court having considered said stipulation and being duly advised in the premises,

 same is now GRANTED.

        IT IS, THEREFORE, ORDERED, ADJUDGED AND DECREED That this

 cause be dismissed with prejudice, each party shall bear its own costs, including

 attorneys’ fees.

 SO ORDERED this 4th day of December 2014.




                                              __________________________________
                                              RICHARD L. YOUNG, CHIEF JUDGE
                                              United States District Court
                                              Southern District of Indiana


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